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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAMES MICHAEL AMOR, et al.,                         :
               Plaintiffs,                          :
                                                    :
                      v.                            :      Civil No. 5:21-cv-05574-JMG
                                                    :
COURTNEY CONOVER,                                   :
                  Defendant.                        :
__________________________________________


            AMENDED NOTICE OF TELEPHONIC PRETRIAL CONFERENCE

       TAKE NOTICE, that the Telephone Status Conference, in the above case has been
rescheduled as follows:
       1. The Status Conference in the above-captioned matter in Chambers before Judge John M.
           Gallagher on Tuesday, May 17, 2022, at 11:00 a.m. (ECF No. 32, ¶ 3), is Cancelled.
       2. Lead counsel shall appear VIA TELEPHONE for a Status conference in the above-
           captioned matter on Tuesday, May 31, 2022 at 11:00 a.m., by providing a calling bridge
           to the United States District Court located at 504 West Hamilton Street, Suite 4701,
           Allentown, Pennsylvania. 1

                                                    For the Court,

                                                    /s/ Brian R. Dixon
                                                    Brian R. Dixon
                                                    Deputy Clerk for Judge John M. Gallagher




Date of Notice: May 13, 2022




1
  Plaintiff's counsel must provide the Court and opposing counsel with conference bridge details
(such as telephone number and access code) no later than Monday, May 23, 2022.
